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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,
                                             Filed Under Seal

               Defendant.




   GOVERNMENT’S MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       Pursuant to LCrR 49(f)(6), the United States of America, by and through Special Counsel

Robert S. Mueller, III, hereby requests leave of the Court to file under seal an unredacted version

of the government’s sentencing memorandum including its exhibits (Attachment A) and a

proposed redacted version of the memorandum and exhibits (Attachment B), which

would be filed publicly with the Court’s approval.                The government seeks to seal

Attachment A and make the redactions reflected               in   Attachment     B    because the

redactions    relate    to    ongoing      law     enforcement      investigations    or    uncharged

individuals, and public disclosure of certain information in the submission could unduly risk

harming those efforts. See, e.g., Virginia Dep’t of State Police v. Washington Post, 386 F.3d

567, 579 (4th Cir. 2004) (“[A] compelling governmental interest exists in protecting the

integrity of an ongoing law enforcement investigation.”); Washington Post v. Robinson, 935

F.2d 282, 291 (D.C. Cir. 1991) (recognizing that situations where “the release of a plea

agreement may threaten an ongoing criminal investigation” can justify sealing, but finding no

risk of harm on the facts of that case). To preserve the confidentiality of that information,

the government requests that its unredacted memorandum (Attachment A) (including

its exhibits) be filed under seal, with the redacted version (Attachment B) (including its exhibits) to
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be submitted on the public docket after this Court rules on this motion. A proposed

order accompanies this motion.

                                                  Respectfully submitted,

                                                  ROBERT S. MUELLER III

                                                  Special Counsel

Dated: February 22, 2019                          By:    /s/ Andrew Weissmann

                                                  Andrew Weissmann
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